Text of a Letter From The President                               http://www.whitehouse.gov/news/releases/2001/03/print/20010314.htnß



                    THE WHrfE HOUSE                                                                                m næ
                       PRESIDENT
                    GEORGE W. BUSH


                                                                                                      For immediate Release
                                                                                                Office of the Press Secretary
                                                                                                              March 13, 2001

          Text of a Letter frorn the President to Senators Hagel, Helrns, Craig, and Roberts
          Thank you for your letter of March 6, 2001, asking for the Administration's views on global climate change,
          in particular the Kyoto Protocol and efforts to regulate carbon dioxide under the Clean Air Act. My
          Administration takes the issue of global climate change very seriously.
          As you know, I oppose the Kyoto Protocol because it exempts 80 percent of the world, including major
          population centers such as China and India, from compliance, and would cause serious harm to the U.S.
          economy. The Senate's vote, 95-0, shows that there is a clear consensus that the Kyoto Protocol is an
          unfair and ineffective means of addressing global climate change concerns.
          As you also know, I support a comprehensive and balanced national energy policy that takes into account
          the importance of improving air quality. Consistent with this balanced approach, I intend to work with the
          Congress on a multipollutant strategy to require power plants to reduce emissions of sulfur dioxide,
          nitrogen oxides, and mercury. Any such strategy would include phasing in reductions over a reasonable
          period of time, providing regulatory certainty, and offering market-based incentives to help industry meet
          the targets. I do not believe, however, that the government should irnpose on power plants mandatory
          emissions reductions for carbon dioxide, which is not a "pollutant" under the Clean Air Act.
          A recently released Department of Energy Report, "Analysis of Strategies for Reducing Multiple Emissions
          from Power Plants," concluded that including caps on carbon dioxide emissions as part of a multiple
          emissions strategy would lead to an even more dramatic shift from coal to natural gas for electric power
          generation and .significantly higher electricity prices compared to scenarios in which only sulfur dioxide and
          nitrogen oxides were reduced.
          This is important new information that warrants a reevaluation, especially at a time of rising energy prices
          and a serious energy shortage. Coal generates more than half of America's electricity supply. At a time
          when California has already experienced energy shortages, and other Western states are worried about
          price and availability of energy this summer, we must be very careful not to take actions that could harm
          consumers. This is especially true given the incomplete state of scientific knowledge of the causes of, and
          solutions to, global climate change and the lack of commercially available technologies for removing and
          storing carbon dioxide.
          Consistent with these concerns, we will continue to fully examine global climate change issues -- including
          the science, technologies, market-based systems, and innovative options for addressing concentrations of
          greenhouse gases in the atmosphere. I am very optimistic that, with the proper focus and working with.our
          friends and allies, we will be able to develop technologies, market incentives, and other creative ways to
          address global climate change.
          I look forward to working with you and others to address global climate change issues in the context of a
          national energy policy that protects our environment, consumers, and economy.
          Sincerely,
          GEORGE W. BUSH

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